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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

BERTRUM JEAN, Individually and as the      §
surviving father of BOTHAM SHEM JEAN,      §
ALLISON A. JEAN, Individually and as the   §
surviving mother of BOTHAM SHEM            §
JEAN, and ALLISA E. FINDLEY as the         §
Administrator of the Estate of BOTHAM      §                     CIVIL ACTION NO.
SHEM JEAN,                                 §
                                           §                          3:18-CV-2862-M
      Plaintiffs                           §
v.                                         §
                                           §
THE CITY OF DALLAS and AMBER               §
GUYGER,                                    §
                                           §
      Defendants                           §
       PLAINTIFFS’ OBJECTIONS TO FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

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       PLAINTIFFS’ OBJECTIONS TO FINDINGS, CONCLUSIONS, AND
     RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       Plaintiffs Bertrum Jean and Allison Jean, individually and as the surviving parents

of Botham Jean, and Allisa E. Findley, as the Administrator of the Estate of Botham Jean,

pursuant to Federal Rule of Civil Procedure 72(b) and 28 U.S.C. § 636(b)(1), file these

Objections to the August 12, 2019 Findings, Conclusions, and Recommendation (the

“Ruling”) (Doc. 33) in which the United States Magistrate Judge recommended granting

Defendant City of Dallas’s Motion to Dismiss Pursuant to Rule 12(b)(6) (Doc. 7).

                                     I.      SUMMARY

       The Ruling interprets the pleading standards for municipal liability allegations

that make it exceedingly difficult—if not impossible—for Section 1983 plaintiffs to state

a claim against a city. First, finding a complaint insufficient even when it describes the

specific topic of the targeted policy, procedures, or failures in supervision, training, and

discipline—and elaborates to the extent possible without discovery—imposes an

impermissibly high standard of the sort this jurisdiction has rejected. Such highly specific

facts are peculiarly within the knowledge of defendants and generally unavailable to

plaintiffs before discovery. Second, to allege that a city policy of police misconduct is

evident from a pattern of similar incidents, the Ruling requires plaintiffs to identify a

substantial number of incidents that are functionally identical to, and occurred within the

same year as, the incident in question. In these ways, the Ruling creates a Catch-22 for

municipal-liability plaintiffs attempting to show that a pattern of violations is attributable

to city policy. Finally, by ignoring similarities between the egregious facts of the shooting


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death of unarmed Botham Jean and those cases in which a single incident supported

attributing police misconduct to city policy and training failures—while absolving cities

that neglect properly training officers to use deadly force, so long as they are trained in

other areas—the Ruling effectively eliminates this single-incident exception.

       Even in the face of such a daunting standard as the Ruling applies, however,

Plaintiffs’ allegations here are more than sufficient to state a municipal-liability claim.

Plaintiffs allege at least seven other strikingly similar instances since 2012 in which Dallas

police officers used deadly force against unarmed minority individuals who posed no

immediate threat of serious harm. Such incidents are more “similar” than those which

this Court has held sufficient to show a pattern; they need not be identical to the incident

in question. Taken with allegations that the City has known for decades of a persistent

problem with Dallas police officers using unconstitutional deadly force—and has

publicly admitted the need for training, policies, and procedures to address the

problem—these incidents are “sufficiently numerous” to show a pattern. But rather than

recognize the obvious pattern, the Ruling requires alleging some unwarranted number

of identical instances of violations that happened in the same year Jean was shot. On the

contrary, those that occur over a long period of time are equal evidence of a pattern of

similar violations. It is, thus, reasonable to infer a practice of using excessive force so

widespread that it rises to the level of a custom having the force of official City policy.

       When Officer Amber Guyger opened Botham Jean’s apartment door and

immediately drew her weapon without evaluating whether Jean posed any imminent

threat of serious harm—as a reasonable officer must—her decision to open fire on Jean

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was not objectively reasonable. This, Plaintiffs urge, was the result of her training to

“shoot first, and ask questions later.” Further, Plaintiffs allege that this was the City’s

policy, as evident from the decades-long pattern of similar violations by Dallas police

officers known to the City. Despite this knowledge, the City gave its officers inadequate—

or non-existent—training in properly using: detention and seizure procedures; deadly

force; less deadly means; cover and pursuing a suspect; and de-escalation tactics.

Considering that shooting deaths allegedly resulting from such deficient training in the

use of deadly force continued after the City admitted the need for such training, it was

obvious that the highly predictable consequence of not training officers was that they

would use force in a way that risked the Fourth Amendment rights of citizens in Dallas.

Because Guyger was ill-trained in these respects, Plaintiffs allege that she defaulted to the

defective City policy: to use deadly force even when there existed no immediate threat of

harm to herself or others. Jean’s death was the direct result.

       The City’s failure to implement policies, procedures, and training to prevent

further unlawful police shootings, together with its tacit approval of Guyger’s conduct in

wake of Jean’s shooting, are sufficient to show an official policy of condoning such

abuses—as well as the City’s deliberate indifference toward the constitutional rights (and

lives) of citizens in Dallas. Whether viewed as a pattern or evident from this single,

egregious incident, Plaintiffs’ Complaint shows that City policies were the moving force

behind Botham Jean’s death and, consequently, Plaintiffs’ injuries.

       For all these reasons, as explained further below, Plaintiffs object to the Ruling that

recommends dismissing their Section 1983 claims against the City.

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                                             II.   ARGUMENT

A.         Standard of review for objections to a magistrate’s order.

           The district judge reviews a party’s objections to a magistrate’s proposed findings

and recommendations de novo. Fed. R. Civ. P. 72(b)(3). “A judge of the court may accept,

reject, or modify [them], in whole or in part,” may receive further evidence, or may return

the matter to the magistrate judge with further instructions. 28 U.S.C. § 636(b)(1); see also

Fed. R. Civ. P. 72(b)(3).

B.         Even under the exceedingly difficult—if not impossible to satisfy—standards
           the Ruling sets forth, Plaintiffs’ allegations of municipal liability are more than
           sufficient to state a claim under Section 1983.

           1.      The Ruling’s mandates pleading with more specificity than what the
                   pleading standard for municipal-liability claims demands.

           Generally speaking, surviving a Rule 12(b)(6) motion to dismiss only demands

that a complaint states a “plausible” claim—that is, the facts alleged, when accepted as

true, “allow[] the court to draw the reasonable inference” that a defendant has committed

the alleged misconduct. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). Thus, while the complaint must include more than “labels and

conclusions, and a formulaic recitation of the elements of a cause of action,”1 demanding

“detailed factual allegations” is outside what the federal pleading standards require.

           The Ruling’s error appears to stem from the Magistrate Judge’s refusal to

recognize the unique nature of claims against a municipality under Section 1983. In the

municipal liability context, under the Rule 8(a) standard even as interpreted by Twombly



1   Twombly, 550 U.S. at 555 (citation omitted).


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and Iqbal, “only minimal factual allegations should be required at the motion to dismiss

stage.” Thomas v. City of Galveston, Tex., 800 F. Supp. 2d 826, 842–43 (S.D. Tex. 2011); see

also Speck v. Wiginton, 606 F. App’x 733, 735–36 (5th Cir. 2015) (per curiam). That is

because it is “exceedingly rare that a plaintiff will have access to (or personal knowledge

of) specific details regarding the existence or absence of internal policies or training

procedures prior to discovery.” Thomas, 800 F. Supp. 2d at 842; see also Brown v. City of

Hous., 297 F. Supp. 3d 748, 767 (S.D. Tex. 2017); Sanchez v. Gomez, 283 F. Supp. 3d 524, 532

(W.D. Tex. 2017).

        The Southern District of Texas in Thomas found that Twombly and Iqbal did not

dramatically alter the pleading standards for municipal liability claims that Leatherman

previously held must not require more specificity than Rule 8 demands. See Thomas, 800

F. Supp. 2d at 842 (citing Leatherman v. Tarrant Cty. Narcotics Intelligence & Coordination

Unit, 507 U.S. 163, 168 (1993)).2 Thomas concluded that these cases “may be reconciled,

without allowing boilerplate allegations, on the one hand, or requiring plaintiffs to plead

specific factual details to which they do not have access before discovery, on the other.”

Id. “Other courts, including the Northern District of Texas, have followed this common-

sense approach to the factual specificity required for municipal liability claims.” E.G. v.




2Thomas is not an outlier either. Many courts agree with Thomas’s explanation of how Iqbal, Twombly, and
Leatherman are satisfied in municipal-liability claims. See Brown, 297 F. Supp. 3d at 767; D.B. v. City of
McKinney, Tex., No. 4:16-CV-00965, 2017 WL 9285514, at *4 (E.D. Tex. Sept. 8, 2017) (slip. op.); Hall v. City of
Waller, No. H–16–3269, 2017 WL 2772576, at *4 (S.D. Tex. June 27, 2017) (mem. op.); Schaefer v. Whitted, 121
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2014); Gooding v. Ketcher, 838 F. Supp. 2d 1231, 1241 (N.D. Okla. 2012); Peña v. Dallas Cnty. Hosp. Dist., No.
3:12-CV-439-N, 2013 WL 11299229, at *10 n.16 (N.D. Tex. June 26, 2013); Mitchell v. City of New Orleans, 184
F. Supp. 3d 360, 373–74 (E.D. La. May 2, 2016).


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Bond, No. 1:16-CV-0068-BL, 2016 WL 8672774, at *6 (N.D. Tex. Sept. 9, 2016). Indeed, the

Northern District has “appl[ied] the persuasive rationale set out in Thomas and the cases

following it to avoid the arguable conflict between Iqbal-Twombly and Leatherman.” Id.

        While the Ruling correctly observes that no heightened standard applies to

municipal-liability claims, it then demands a level of specificity that Rule 8(a) does not

require for such claims. As this Court has explained, “[t]he difference between the Rule

8(a) pleading standard and an impermissible heightened pleading standard is in the

factual particularity or specificity needed to state a claim.” Wright v. City of Dall., No. 3:09-CV-

1923-B, 2010 WL 3290995, at *3 (N.D. Tex. July 19, 2010) (Ramirez, Mag. J.), recommend.

adopted, 2010 WL 3291816 (N.D. Tex. Aug. 19, 2010) (Boyle, J.) (emphasis added).

Therefore, courts in this district have expressly refused to require plaintiffs to “allege

specific facts beyond those necessary to state [a] claim and the grounds showing

entitlement to relief”—an “impermissible heightened pleading standard” inapplicable

under Rule 8(a). Id.

        As this Court previously recognized in Flanagan, a municipal-liability claim

(unlike those against the officer) satisfies the federal pleading standard if it describes, for

instance: “(1) past incidents of misconduct by the defendant to others; (2) multiple harms

that occurred to the plaintiff himself; (3) the involvement of multiple officials in the

misconduct; (4) the specific topic of the challenged policy or training inadequacy,”3 or (5)




3Flanagan v. City of Dall., Tex., 48 F. Supp. 3d 941, 947 (N.D. Tex. 2014) (Lynn, J.) (adopting report &
recommend. of Tolliver, Mag. J.) (citing Thomas, 800 F. Supp. 2d at 843-44) (emphasis added).



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“misconduct that occurred in the open,” 4 “together with any additional elaboration

possible.” Flanagan v. City of Dall., Tex., 48 F. Supp. 3d 941, 947 (N.D. Tex. 2014) (Lynn, J.)

(adopting report & recommend. of Tolliver, Mag. J.). “Those types of details, together

with any additional elaboration possible, help to (1) ‘satisfy the requirement of providing

not only fair notice of the nature of the claim, but also grounds on which the claim rests;’5

and (2) ‘permit the court to infer more than the mere possibility of misconduct.’”6 Id.

Finding a complaint insufficient even when it describes the specific topic of the targeted

policy, procedures, or failures in supervision, training, and discipline—and elaborates to

the extent possible without discovery—imposes a different, impermissibly high standard

of the sort this jurisdiction has rejected. See, e.g., Wright, 2010 WL 3290995, at *3.

           In fact, the Eastern District of Texas recently clarified that where a complaint does

not “identify which training policy and/or procedures were inadequate or how this

alleged inadequacy directly caused” the alleged violation in a municipal liability claim:

           The failure of specificity is no fault of Plaintiff’s, . . . because he has not yet
           had the benefit of discovery. Plaintiff is bound by Rule 11 to allege only
           those facts for which he has or will likely have evidentiary support.

                  As the Fifth Circuit explained in Schultea v. Wood, a plaintiff is not
           required to plead facts “peculiarly within the knowledge of defendants.”
           The facts omitted here are squarely within that category.

Williams v. City of Denton, Tex., No. 4:17-CV-00811, 2019 WL 438403, at *10 (E.D. Tex. Jan.

10, 2019), report & recommend. adopted, 2019 WL 430913 (E.D. Tex. Feb. 4, 2019) (citations



4   Thomas, 800 F. Supp. 2d at 843-44.
5   Twombly, 550 U.S. at 555 n.3 (internal quotations omitted).
6   Iqbal, 556 U.S. at 679 (2009).


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omitted) (quoting Schultea v. Wood 47 F.3d 1427, 1432 (5th Cir. 1995) and Morgan v. Hubert,

335 F. App’x 466, 472 (5th Cir. 2009)). Rather than dismiss the claim, the Williams court

“allow[ed] discovery limited to the issue of the City’s policies, practices, or customs

regarding excessive force and police officer training regarding the use of excessive force

and decide the issue of the City’s liability once that discovery is complete.” Id.

       Furthermore, the Ruling disregards the Plaintiffs’ need for discovery to support

alleging facts that will likely have evidentiary support. City policies and training

procedures have been recognized as particularly difficult to obtain—or even learn of, as

necessary to allege in good faith—outside the discovery process. As noted, courts have

explained that it is “exceedingly rare that a plaintiff will have access to (or personal

knowledge of) specific details regarding the existence or absence of internal policies or

training procedures prior to discovery.” Thomas, 800 F. Supp. 2d at 842; see also Brown v.

City of Hous., 297 F. Supp. 3d at 767; Sanchez, 283 F. Supp. 3d at 532. Although these courts

recognize such information is generally unavailable to plaintiffs at this stage of litigation,

the Ruling requires Plaintiffs to provide such information anyway. Thus, in order to

survive the dismissal stage under the Ruling, plaintiffs are encouraged to allege facts

unknown to them, including those “peculiarly within the knowledge of defendants,” in

disregard of what Rule 11 requires. See Schultea, 47 F.3d at 1432. Interpreting Rule 8(a) in

a way that leads plaintiffs to violate Rule 11 cannot be what the Federal Rules or the Fifth

Circuit intend.




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       2.     Rather than recognize the obvious pattern of unlawful police shootings
              here, the Ruling requires allegations that some unwarranted number of
              identical instances of violations happened in the same year Jean was shot.

       The standard the Ruling applies will effectively eliminate Section 1983 claims

against municipalities, as plaintiffs at the initial pleading stage are typically unable to

offer an as-yet unspecified number of functionally identical police misconduct incidents

in Dallas that equate to a constitutional violation, and unable even to discover similar

enough instances of alleged misconduct.

              a.     Other unlawful police shootings need not be identical to Guyger’s
                     shooting of Jean to be sufficiently “similar” to show a pattern.

       Under the Ruling, “similar” does not mean merely similar. It means that each of

the countless incidents the plaintiff must allege must also be the same as the “specific

violation in question.” (Doc. 33 at 11). While acknowledging that Plaintiffs cite numerous

other instances of Dallas police officers using excessive deadly force in shooting unarmed

minority individuals, the Ruling concludes they are not “fairly similar” to Guyger

shooting Jean—an unarmed minority. (Id. at 13). Rather, the Ruling requires each of the

other cases to also “involve[] an off-duty officer approaching what he or she believed to

be a burglary taking place in his or her own home at the time of the shooting.” (Doc. 33

at 13). In other words, the Ruling goes beyond mere “similarity” and requires that any

prior incidents be functionally identical.

       Requiring prior incidents to be so similar to the specific incident in question that

they are functionally identical is inconsistent with what this Court has deemed “similar”

for the purposes of establishing a pattern. In Flanagan, this Court concluded that the prior



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incidents alleged were “similar” enough to the allegations about the shooting in question

because in each instance, “the individuals involved were not provoking or resisting the

police when they were shot.” Flanagan, 48 F. Supp. 3d, at 954. The Ruling, thus,

improperly magnifies the level of similarity between the prior and current incident

required by this Court.

       Furthermore, the Ruling relies solely on presuming that Guyger was “off-duty” to

claim that “these other incidents relied upon by Plaintiffs ‘are distinguishable from the

instant case and do not establish a pattern.’” (Doc. 33 at 13). The Ruling cannot help but

admit that the other incidents all “involved shootings of unarmed minority individuals

by police officers.” (Id. at 12). Nevertheless, the Ruling casts Guyger’s shooting of Jean in

a different light, describing it as “an off-duty officer approaching what he or she believed

to be a burglary taking place in his or her own home at the time of the shooting.” (Id. at

13) (citing Doc. 5 at 5–7 (including ¶¶ 13–22)).

       To begin with, the Ruling claims Plaintiffs allege facts they did not. Nowhere in

the cited pages in Plaintiffs’ Complaint do Plaintiffs allege that Guyger was an “off-duty

officer” or that Guyger actually “believed” a burglary in her own home was taking place

when she approached Jean’s apartment and killed him. (Compare Doc. 33 at 13 with Doc.

5 ¶¶ 13–22). Rather, Plaintiffs note that “Guyger alleges she observed the apartment door

ajar and believed a burglary to be taking place.” (Doc. 5 ¶ 20). Plaintiffs were merely




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reciting what “Guyger stated in an interview with the Texas Rangers.” (Id. at ¶ 15).7 What

Guyger claims she observed and believed is very much in dispute.

       Not only is the Ruling’s statement conclusory, however, it is a conclusion

unjustified under the law. “Guyger told police that she concluded her apartment was

being burglarized and gave verbal commands to the figure,” drew her service weapon,

and shot Jean twice.8 The Texas Supreme Court has determined that, under Texas law,

once an off-duty police officer observes a purported crime, she becomes an on-duty

officer—as a matter of law. See Garza v. Harrison, 574 S.W.3d 389, 403 (Tex. 2019) (“Peace

officers ‘retain their status as peace officers twenty-four hours a day[.]’ . . . If an off-duty

officer observes a crime, as a matter of law he becomes an on-duty officer.”). Therefore,

once Guyger observed Jean purportedly engaged in burglary, her status as an on-duty

peace officer was activated, as a matter of law in Texas. See id. at 404.

       Moreover, the on-duty/off-duty distinction is meaningless here, where the key

facts the prior incidents and supporting cases share with the claims at issue here are that

they all involve police officers using deadly force when there existed no immediate threat

of serious harm. The Fifth Circuit recently reaffirmed that an officer is not justified in

using deadly force “[w]here the suspect poses no immediate threat to the officer and no



7 See CBS/AP, Dallas officer who killed neighbor in his apartment said he ignored her verbal commands,
CBSNEWS.COM (Sept. 10, 2018, 6:06 p.m.), https://www.cbsnews.com/news/botham-jean-shooting-
dallas-police-officer-amber-guyger-says-victim-ignored-commands-2018-09-10/ (last visited Sept. 11,
2019) (noting that Guyger told Texas Rangers “she thought a burglar was inside her home” and fired her
weapon after giving “verbal commands.”).
8See id.; see also Chris Blake, What to Know Before the Amber Guyger Murder Trial, NBCDFW.COM (Sept. 10,
2019, 4:09 p.m.) https://www.nbcdfw.com/news/local/What-to-Know-Before-the-Murder-Trial-of-
Amber-Guyger-Chris-Project-558506931.html (last visited Sept. 11, 2019).


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threat to others.” Cole v. Carson, Nos. 14-10228 & 15-10045, 2019 WL 3928715 at *6, —

F.3d— (5th Cir. Aug. 20, 2019) (reh’g en banc) (quoting Tennessee v. Garner, 471 U.S. 1, 11

(1985)); see also Rocha v. Schroeder, 283 Fed. Appx. 305, 306 (5th Cir. 2008) (“The issue is

not simply what she perceived Rocha to be doing but, critically, whether a ‘reasonable’

police officer confronted with the same circumstances would have shot him.”). Thus, the

Ruling improperly discounts the similarity between incidents based on presuming

Guyger was acting as an off-duty officer—rather than the common absence of any

imminent threat to justify the officers’ use of deadly force in each case.

       “The key common element, made sufficiently clear in the pleadings, is the alleged

repeated use of excessive deadly force, often with fatal results.” Oporto v. City of El Paso.,

No. EP–10–CV–110–KC, 2010 WL 3503457, at *5–6 (W.D. Tex. Sept. 2, 2010). Accordingly,

Guyger’s shooting of Jean was sufficiently similar to other prior unlawful uses of deadly

force by Dallas police officers to properly allege a pattern of such violations.

              b.     The seven other incidents of Dallas police officers shooting
                     unarmed minorities where no imminent threat of harm existed are
                     “sufficiently numerous” to show a pattern.

       Although the Ruling admits that “there is no rigid rule regarding numerosity” to

show a pattern, it incorrectly demands that claims involving police officers shooting

unarmed persons must allege a similar number of violations as those that involve less

serious violations. (Doc. 33 at 13) (citing Piñeda v. City of Hous., 124 F. Supp. 2d 1057 (S.D.

Tex. 2000), a warrantless entry case, and Peterson v. City of Fort Worth, 588 F.3d 838, 849–

50 (5th Cir. 2009), cert. denied, 562 U.S. 827 (2010), claiming excessive use of non-deadly

force). This Court has specifically rejected this comparison, explaining the

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“seriousness . . . [of] the shooting by a police officer of an unarmed person, whatever the

circumstances of the shooting may turn out to be,” makes it “reasonable to allow a lower

number of incidents to establish a pattern of conduct in a shooting case.” Flanagan, 48 F.

Supp. 3d at 954; accord Harper v. City of Dall., Tex., Civ. No 3:14-CV-02647-P, 2015 WL

13729793, at *3 n.1 (N.D. Tex. Aug. 13, 2015) (slip. op.) (Solis, J.).

       In Flanagan, the defense argued that, because 11 incidents over a 4-year period in

Pineda were not enough to show a pattern, neither were the 12 incidents of Dallas police

shooting unarmed people in the year the underlying violation occurred. Flanagan, 48 F.

Supp. 3d at 954 (citing Piñeda, 124 F. Supp. 2d at 1070). But the Flanagan court disagreed,

finding the following sufficient, “at the motion to dismiss stage, from which one could

make a reasonable inference of a persistent, widespread practice by DPD officers of using

excessive force rising to the level of a custom having the force of official City policy”:

      First, of the 12 shootings alleged in the same year as the underlying incident, 3
       were similar enough to suggest a pattern;

      Second, for the past dozen years, Dallas police officers shot an average of 4
       unarmed people each year; and

      Third, for those shootings over the past dozen years, there were “nearly 100 open
       internal affairs investigations into such shootings and have been nearly as many
       grand jury proceedings.”

Id. Thus, given the history of alleged shootings of unarmed people over the previous 12

years and the “seriousness” of such shootings, the Flanagan court held that the 3 incidents

similar to the one in question were enough, despite being a lower number than the 11

incidents in Piñeda. Id.; see also Harper, 2015 WL 13729793, at *3 (holding that, because




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allegations were so similar to those held sufficient in Flanagan, they were sufficient to

show a pattern).

       Such allegations gave “sufficient detail . . . to denote the similarities to the

allegations . . . namely that the individuals involved were not provoking or resisting the

police when they were shot.” Flanagan, 48 F. Supp. 3d at 954. Three incidents similar to

the one in question in Oporto were also enough, taken with other allegations, to show a

pattern of misconduct. Oporto, 2010 WL 3503457, at *6. Accordingly, the Ruling is

incorrect that the alleged 7 prior incidents of similar police shootings of unarmed persons

are not “sufficiently numerous” to show a pattern of such violations in the Fifth Circuit.

(Doc. 33 at 13).

              c.     The Ruling ignores that the other similar police shootings have
                     happened for so long that they show a custom of such misconduct;
                     they need not have occurred the same year as Jean was killed.

       The Ruling critically misapplies the law by focusing on the frequency of the

alleged similar incidents, disregarding that in the Fifth Circuit, a pattern of violations

may be shown by prior incidents that occurred “frequently and/or over a long period of

time.” Hall v. Robinson, 618 Fed. App’x 759, 765 (5th Cir. 2015) (citing Peterson, 588 F.3d at

850–51). Instead, the Ruling concludes that the 7 other similar police shootings were “not

‘sufficiently numerous’ to demonstrate a pattern,” simply because they did not happen

over a short enough timespan. (Doc. 33 at 14). Attempting to contrast this case with




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Flanagan and Harper—which alleged “shootings in the same year as the shooting at

issue”9—the Ruling declares:

           Even assuming for purposes of this motion only that the seven prior
           incidents Plaintiffs cited are similar enough to reasonably infer a pattern
           sufficient to establish a custom or policy of insufficient training,
           supervision, or discipline by DPD because they involved unarmed minority
           individuals shot by police officers, the incidents occurred over a four-year
           period between 2012 and 2017.

(Id.). Thus, this application of the law wrongly discounts the length of time the alleged

similar incidents of unlawful police shootings have continued among the Dallas PD.

           In doing so, the Ruling ignores the decades-long history of Dallas police shooting

unarmed people and the City’s knowledge of the persistent problem with its policies on

the use of deadly force and its failure to address those problems. The Ruling gives no

consideration to the allegations that in 2012, after James Harper was killed, the City

publicly admitted that it was deficient in numerous policies and procedures, such as

training on the use of force, that the City identified were necessary to address the decades

of officers using unlawful deadly force, even before Harper’s death—none of which the

City has yet implemented. (Doc. 5 at ¶ 70). This followed the 1987 report by Geoffrey P.

Alpert criticizing Dallas PD’s policies and procedures, urging that the City suffered from

institutional training issues regarding the use of force. (Id. at ¶ 68). In order for the City

to overcome these issues and enter the 1990s with a set of police policies, procedures and

customs commensurate with its high set of municipal values, the report cautioned that a

conscious decision must be made to overhaul a system creaking with age and tradition,


9   Id. at 13–14.


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and made obsolete by the challenges of a new generation of citizens. (Id. at ¶ 69). And in

1988, after a series of officer-involved shootings in Dallas, Congressional hearings were

held, recommending ways to improve Dallas PD’s internal training and policies in

response to the City’s critical failures. (Id. at ¶ 70(g)).

       Taken with the fact that the other 6 similar incidents of unlawful police shootings

alleged all occurred after 2012, these allegations show that Dallas police have continued

to use lethal force against non-threatening people—particularly minorities—despite the

City’s knowledge that its policies regarding the use of force were deficient. (Id.).

Therefore, when Jean was killed in 2018, Dallas police had been unlawfully using deadly

force against civilians “for so long . . . that the course of conduct warrants the attribution

to the governing body of knowledge that the objectionable conduct is the expected,

accepted practice of city employees.” Peterson, 588 F.3d at 850–51 (emphasis added).

       The Ruling, thus, errs in focusing on the frequency of unjustified police shootings

while ignoring how long Dallas officers have continued the practice.

               d.     Municipal-liability plaintiffs face a Catch-22 in attempting to
                      establish a pattern of violations under the Ruling’s impossibly
                      high standard.

       Demanding that prior incidents bear such a high degree of similarity to the

incident in question and that they be so numerous results in a Catch-22:

      Until a constitutional violation for excessive force is proven against a Dallas police
       officer, future plaintiffs will be unable to point to a sufficient number of such prior
       incidents of constitutional violations.

      But plaintiffs cannot prove a constitutional violation until there have already been
       a sufficient—unspecified—number of prior violations that are sufficiently similar.



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         This they cannot do without discovery or without other cases finding the same
         constitutional violation.

        As a result, cities can continue to argue that there are no equivalent violations
         occurring, and thus, no “widespread municipal policy”—and no municipal
         liability.

Translation: If another Dallas police officer tomorrow shoots an unarmed black man

sitting in his own apartment who, like Jean, posed no imminent threat of serious harm to

anyone, the City would still escape liability for its “shoot first, ask questions later”

policy—ad infinitum.10 Thus, the Ruling imposes an impossible standard that this Court

has previously rejected. See Flanagan, 48 F. Supp. 3d, at 954. It should do so again.

         Only through its incorrect application of the law regarding the level of similarity,

quantity, and history of prior incidents plaintiffs are required to allege just to survive

dismissal on the pleadings does the Ruling justify recommending that Plaintiffs’ claims

against the City be dismissed. Plaintiffs further object to the Ruling for this reason.




10See Cole v. Carson, 2019 WL 3928715, at *20 (Willett, J., dissenting). Justice Willett of the Fifth Circuit has
penned two opinions—a concurrence and, most recently, a dissent—criticizing decisions that require
plaintiffs to “cite functionally identical precedent” in excessive force cases, resulting in a “catch-22”:

         Section 1983 meets Catch-22. Plaintiffs must produce precedent even as fewer courts are
         producing precedent. Important constitutional questions go unanswered precisely
         because no one's answered them before. Courts then rely on that judicial silence to
         conclude there's no equivalent case on the books. No precedent = no clearly established
         law = no liability. An Escherian Stairwell.”

Id. (quoting Zadeh v. Robinson, 928 F.3d 457, 479–80 (5th Cir. 2019) (Willett, J., concurring in part, dissenting
in part)). Although the New Ruling recognizes that these cases deal with qualified immunity (Doc. 240 at
23 n.4), the same “Catch-22” occurs in municipal-liability claims, with the same consequences to plaintiffs.


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       3.     The Ruling would effectively eliminate the single-incident exception; yet
              even under its impossible standard, the facts of this case exemplify its
              application.

       Even where such a pattern does not exist, a single incident of a violation may

support liability. Piotrowski v. City of Hous., 237 F.3d 567, 579 (5th Cir. 2001); Alvarez v.

City of Brownsville, 904 F.3d 382, 390 (5th Cir. 2018). One such violation, “accompanied by

a showing that a municipality has failed to train its employees to handle recurring

situations presenting an obvious potential for such a violation, could trigger municipal

liability.” Board of Cty. Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397, 409 (1997). Although

narrow, this “single-incident exception” generally applies where the facts giving rise to

the violation are such that it should have been apparent to the policymaker that a

constitutional violation was the highly predictable consequence of the particular policy

or custom. Westfall v. Luna, 903 F.3d 534, 554 (5th Cir. 2018). “The high degree of

predictability may also support an inference of causation—that the municipality’s

indifference led directly to the very consequence that was so predictable.” Bryan Cty., 520

U.S. at 409–410. Such was the case in Grandstaff v. Borger, where officers were “quick to

fire” at the suspect and “recklessly killed” an innocent third party in the process—

conduct the Fifth Circuit has deemed “egregious.” See Westfall, 903 F.3d at 552 (quoting

Grandstaff v. Borger, 767 F. 2d 161, 171 (5th Cir. 1985)).

       Moreover, the Supreme Court has explained that factfinders may conclude that an

“official knew of a substantial risk from the very fact that the risk was obvious.” Farmer

v. Brennan, 511 U.S. 837, 842 (1994). For instance:




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       if an Eighth Amendment plaintiff presents evidence showing that a
       substantial risk of inmate attacks was “longstanding, pervasive, well-
       documented, or expressly noted by prison officials in the past, and the
       circumstances suggest that the defendant-official being sued had been
       exposed to information concerning the risk and thus ‘must have known’
       about it, then such evidence could be sufficient to permit a trier of fact to
       find that the defendant-official had actual knowledge of the risk.

Id., at 842–43. Moreover, deliberate indifference in a Section 1983 claim for municipal

liability “permit[s] liability to be premised on obviousness or constructive notice,” and

does not require the state-of-mind requirement the Eighth Amendment does. Id. at 842

(discussing the less onerous deliberate-indifference test in Canton at v. Harris, 489 U.S. 378

(1989)). Considering that Farmer held such evidence imputes knowledge to officials under

a more onerous standard than the one applicable to municipal-liability claims, when a

plaintiff alleges a well-documented, substantial risk of police officers unlawfully using

deadly force—and facts show that the defendant city has been exposed to such

information—such facts support actual knowledge of the risk. Id.

       Here, Plaintiffs allege that, even though the City knew of the well-documented,

substantial risk of police officers unlawfully using deadly force due to deficient policies,

procedures, and training, the City still failed to implement any such necessary policies

and continued to provide its officers inadequate—or non-existent—training in:

          The use of proper and appropriate detention and seizure procedures;

          The use of excessive and/or deadly force;

          The proper use of less deadly means;

          The proper use of cover and the pursuit of a suspect; or

          De-escalation tactics.

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(Doc. 5 ¶¶ 33, 57). That a civilian was killed when a Dallas police officer shot first and

asked questions later—the City policy they fall back on because they are not trained in

how to use force only to the degree allowed by the Constitution—is unsurprising.

       Indeed, the circumstances of Guyger’s shooting of Botham Jean are directly

analogous to the “egregious” facts in Grandstaff that the Ruling acknowledges warrant

the application of the single-incident exception. See Grandstaff, 767 F. 2d at 171. Like the

officers in Grandstaff, Guyger “mistook an innocent” person—Jean—for a criminal

suspect. (See Doc. 33 at 15). And, like the officers in Grandstaff, Guyger shot Jean “without

awaiting any hostile act or sound, ultimately killing” an innocent person. (Id.).

       Furthermore, like the city in Grandstaff, the City’s conduct in wake of Jean’s

shooting is sufficient to “show an official policy of condoning such abuses.” (Id.). By

deciding not to terminate Guyger until prompted by public outcry, the City showed its

tacit approval of Guyger’s conduct. (Doc. 5 at ¶ 60). The City’s approval of Guyger’s

conduct is further apparent from the City allowing Guyger to re-enter Jean’s apartment

(and her own) after the shooting and to make several phone calls before giving

investigators her statement. (Id. at ¶ 22). Plaintiffs further allege that the City allowed

Guyger to scrub her social media accounts to delete evidence unfavorable to her. (Id. at ¶

26). And, while the City sought a warrant for Jean’s apartment after the shooting, the City

did not seek a warrant for Guyger’s apartment, vehicle, or service locker—all of which

Plaintiffs note potentially held evidence relevant to the homicide investigation the City

initiated immediately after the shooting. (Id. at ¶ 24). Faced with these facts, however, the

Ruling somehow claims that “[u]nlike Grandstaff, this case does not involve the collective

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conduct of many individuals and multiple bad acts,” painting this as a case of “the use of

excessive force by one officer.” (Doc. 33 at 15). The collective “conduct of both [Guyger]

during the incident and the [City] in the wake of the incident” strongly demonstrate

otherwise. (Id.). Thus, Grandstaff supports applying the single-incident exception here.

       The standard the Ruling imposes for applying the single-incident exception in

failure-to-train claims would effectively foreclose all such future claims. The Ruling

suggests that a wholesale failure to train an officer in one limited area—such as training

officers to use deadly force only when there is an imminent threat of serious harm—is

not enough. (Doc. 33 at 15). Rather, the Ruling contends that the “exception is generally

reserved for those cases in which the government actor was provided no training

whatsoever.” (Id.) (quoting Peña, 879 F.3d at 624). Under this rule, alleging that the officer

received inadequate—or non-existent—training in: using proper and appropriate

detention and seizure procedures; using excessive and/or deadly force; properly using

less deadly means; properly using cover and pursuing a suspect; or de-escalation tactics

(Id. at ¶¶ 33, 57) is insufficient, as long as the officer has had any training whatsoever,

regardless the topic of the training.

       To illustrate the gravity of the implications, as long as an officer is trained in how

to enter reports or the procedure for using body cameras, there has not been a “complete

failure to train,” according to this articulation of the rule. (Id.) (citing McClendon v. City of

Columbia, 258 F.3d 432, 442–43 (5th Cir. 2001), vacated for reh’g en banc, 285 F.3d 1078 (5th

Cir. 2002), decision on reh’g en banc, 305 F.3d 314 (5th Cir. 2002)). Were this the law, cities




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could opt not to train officers on anything except clerical duties, send them out to patrol

the streets, and avoid liability for their inevitable wrongdoing.

       Thus, even where the allegations support that a city actually—or even

constructively—knew of the risk that one of its officers would cause the violation in

question, the Ruling’s view of deliberate indifference would absolve the City of its

knowledge. Therefore, the Ruling goes beyond what the law of the United States

Supreme Court and the Fifth Circuit have held is required to show deliberate indifference

in a Section 1983 case. By setting such a high bar for deliberate indifference—a necessary

part of establishing the single-incident exception—the Ruling makes it even more

difficult to show the exception applies. Even under the Ruling’s standard, however, the

facts of this case show a pattern based on the single, egregious killing of Botham Jean.

       4.     When Guyger shot Jean, it was consistent with her deficient training and
              the City’s “shoot first, ask questions later” policy—the moving forces
              behind Jean’s death and Plaintiffs’ injuries.

       In a final attempt to justify dismissing Plaintiffs’ claims against the City, the Ruling

downplays Plaintiffs’ allegations that City policies were the moving force behind their

injuries, concluding that the “assertions that Officer’s actions resulted from a lack of

training, supervision, and/or discipline are too vague and conclusory to support the

causation element for municipal liability.” (Doc. 33 at 17). The Ruling’s conclusion relies

on Spiller, where allegations that “several policies ‘led to’ unspecified ‘unconstitutional

arrest and confinements’ and that there was a departmental policy of “engag[ing] in

conduct toward African American citizens without regard to probable cause to arrest”

were not enough. (Id.). Plaintiffs do not fail to specify the unconstitutional conduct they

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claim results directly from the City’s policy of using deadly force where no imminent

threat of serious harm exists, as further evident from its failures to train, discipline, or

supervise its officers who do so, in violation of the constitutional rights of its citizens.

       As explained above, the City publicly admitted that its policies and procedures for

training its officers on the use of lethal force were deficient—after knowing for decades

that the Dallas PD suffered from institutional training issues involving the use of such

force, and after such force was implicated in the death of James Harper. Plaintiffs allege

that, despite this knowledge, the City failed to adequately train its officers in:

          The use of proper and appropriate detention and seizure procedures;

          The use of excessive and/or deadly force;

          The proper use of less deadly means;

          The proper use of cover and the pursuit of a suspect; or in

          De-escalation tactics.

(Id. at ¶ 57). Considering that shooting deaths allegedly resulting from such deficient

training in the use of deadly force continued, it was obvious that “‘the highly predictable

consequence of not training’ [the] officers was that they ‘would apply force in such a way

that the Fourth Amendment rights of [citizens] were at risk.’” Peterson, 588 F.3d at 849

(quoting Brown v. Bryan Co., Okla., 219 F.3d 450, 461 (5th Cir. 2000)). Such a “high degree

of predictability may also support an inference of causation—that the municipality’s

indifference led directly to the very consequence that was so predictable.” Bryan Cty., 520

U.S. at 409–410.



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       Because “Officer Guyger was ill-trained” in these respects, Plaintiffs allege that

Guyger “defaulted to the defective DPD policy: to use deadly force even when there exist

no immediate threat of harm to themselves or others.” (Doc. 5 ¶ 36). Acting on that City

policy, they allege, “Officer Guyger opened Jean’s apartment door and immediately drew

her weapon without an evaluation of what occurred or what was transpiring. She simply

opened fire without having any knowledge of the true situation.” (Id.). Guyger’s acts are

measured by what “a ‘reasonable’ police officer confronted with the same circumstances

would have” done. Rocha, 283 Fed. App’x at 306. Plaintiffs explain numerous ways her

conduct deviated from the constitutional contours, evidencing improper training:

      “Without any lawful justification to do so and not asking the questions that a
       reasonable well-trained officer would have, Defendant Guyger fired upon Jean,
       striking him in the chest although he was unarmed and not attempting to harm
       her or any other person” (Doc. 5 ¶ 15);

      “Officer Guyger failed to conduct an objectively, reasonable assessment of the facts
       when she chose to use deadly force without properly attempting to use de-
       escalation tactics to apprehend Jean before discharging her service weapon” (Id. at
       ¶ 19); and

      “Defendant Guyger failed to secure the location by shutting the door and calling
       for back up while taking a tactical position outside of the apartment” (Id. at ¶ 20).

A reasonable officer in that situation would not have shot a person who was

undisputedly not resisting and compliant, unarmed, committing no crime, “never made

any threatening gestures toward Defendant Guyger and did not pose an immediate

threat to the safety of Defendant Guyger or others.” (Id. at ¶ 47).

       It is Guyger’s failure to take the steps a reasonable officer trained to act in

accordance with the constitutional limits of force would have taken—and the deficient



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City policies on which Guyger acted—that Plaintiffs target as the cause of Jean’s death.

Ultimately, Plaintiffs allege, “[b]y simply following proper police procedures and the best

police practices and not the protocol of the DPD to ‘shoot first and ask questions later’,

Defendant Guyger would have not shot Jean.” (Id. at ¶ 20). Because she lacked this

training, Guyger defaulted to the City’s de facto policy when facing her situation with

Jean: Shoot first, and ask questions later. Because of her reliance on this deficient training

and unconstitutional use-of-force policy, Guyger shot Botham Jean and, as a result,

violated his constitutional rights and caused Plaintiffs’ injuries arising from Jean’s

injuries and death.

                                  CONCLUSION & PRAYER

       For these reasons, Plaintiffs Bertrum Jean and Allison Jean, individually and as the

surviving parents of Botham Jean, and Allisa E. Findley, as the Administrator of the

Estate of Botham Jean, object to the Findings, Conclusions, and Recommendation of the

United States Magistrate Judge (Doc. 33) and, for the reasons stated here and in the

Plaintiffs’ original response and sur-reply to the City’s motion to dismiss, ask this Court

to sustain these objections and enter an order denying the City’s motion to dismiss.

Plaintiffs further request all other relief to which they are justly and equitably entitled.

                                                  Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 12, 2019, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of
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